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       Counsel for Plaintiff
   7
   8                          UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
   9
  10
  11   JEFFREY GARCIA, Individually and        No.
       on behalf of all others similarly
  12   situated,                               CLASS ACTION COMPLAINT
  13                                           FOR VIOLATIONS OF THE
                     Plaintiff,                FEDERAL SECURITIES LAWS
  14
  15                 v.                        CLASS ACTION
  16
       J2 GLOBAL, INC., VIVEK SHAH,            JURY TRIAL DEMANDED
  17   NEHEMIA ZUCKER, and R. SCOTT
       TURICCHI,
  18
  19                Defendants.
  20
  21
  22
  23
  24
  25
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  27
  28
  29                      CLASS ACTION COMPLAINT FOR VIOLATIONS OF
  30                             THE FEDERAL SECURITIES LAWS
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   1
             Plaintiff Jeffrey Garcia (“Plaintiff”), individually and on behalf of all other

   2   persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s

   3   complaint against Defendants (defined below), alleges the following based upon
   4   personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and
   5   belief as to all other matters, based upon, inter alia, the investigation conducted
   6   by and through his attorneys, which included, among other things, a review of the
   7   Defendants’ public documents, conference calls and announcements made by
   8   Defendants, public filings, wire and press releases published by and regarding J2
   9   Global, Inc. (“J2 Global” or the “Company”), and information readily obtainable
  10   on the Internet. Plaintiff believes that substantial evidentiary support will exist for
  11   the allegations set forth herein after a reasonable opportunity for discovery.
  12                              NATURE OF THE ACTION
  13         1.     This is a class action on behalf of persons or entities who purchased
  14
       or otherwise acquired publicly traded J2 Global securities between October 5,
  15
       2015 and June 29, 2020, inclusive (the “Class Period”). Plaintiff seeks to recover
  16
       compensable damages caused by Defendants’ violations of the federal securities
  17
       laws under the Securities Exchange Act of 1934 (the “Exchange Act”).
  18
                                 JURISDICTION AND VENUE
  19
             2.     The claims asserted herein arise under and pursuant to Sections
  20
       10(b) and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule
  21
       10b-5 promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).
  22
             3.     This Court has jurisdiction over the subject matter of this action
  23
       pursuant to 28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C.
  24
  25
       §78aa).

  26         4.     This Court has jurisdiction over each defendant named herein

  27   because each defendant has sufficient minimum contacts with this judicial district
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  29                                        1
                        CLASS ACTION COMPLAINT FOR VIOLATIONS OF
  30                           THE FEDERAL SECURITIES LAWS
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   1
       so as to render the exercise of jurisdiction by this Court permissible under

   2   traditional notions of fair play and substantial justice.

   3         5.     Venue is proper in this judicial district pursuant to 28 U.S.C. §
   4   1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged
   5   misstatements entered, the subsequent damages took place in, and the Company
   6   maintains locations in this judicial district.
   7         6.     In connection with the acts, conduct and other wrongs alleged in this
   8   complaint, defendants, directly or indirectly, used the means and instrumentalities
   9   of interstate commerce, including but not limited to, the United States mails,
  10   interstate telephone communications and the facilities of the national securities
  11   exchange.
  12                                         PARTIES
  13         7.     Plaintiff, as set forth in the accompanying Certification, purchased
  14
       the Company’s securities at artificially inflated prices during the Class Period and
  15
       was damaged upon the revelation of the alleged corrective disclosure.
  16
             8.     Defendant J2 Global, through its subsidiaries, purports to provide
  17
       Internet services worldwide. The Company operates through three segments: Fax
  18
       and Martech; Voice, Backup, Security, and Consumer Privacy and Protection;
  19
       and Digital Media. The Company is incorporated in Delaware and its head office
  20
       is located at 700 South Flower Street, Suite 1500, 15th Floor, Los Angeles, CA
  21
       90017. J2 Global’s securities trade on the NASDAQ under the ticker symbol
  22
       “JCOM.”
  23
             9.     Defendant Vivek R. Shah (“Shah”) has served as the Company’s
  24
  25
       Chief Executive Officer (“CEO”) since January 2018.

  26         10.    Defendant Nehemia Zucker (“Zucker”) served as the Company’s

  27   Chief Executive Officer (“CEO”) from May 2008 until December 2017.
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  29                                        2
                        CLASS ACTION COMPLAINT FOR VIOLATIONS OF
  30                           THE FEDERAL SECURITIES LAWS
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   1
             11.   Defendant Robert Scott Turicchi (“Turicchi”) has served as the

   2   Company’s President and Chief Financial Officer (“CFO”) throughout the Class

   3   Period.
   4         12.   Defendants Shah, Zucker, and Turicchi are collectively referred to
   5   herein as the “Individual Defendants.”
   6         13.   Each of the Individual Defendants:
   7               (a)     directly participated in the management of the Company;
   8               (b)     was directly involved in the day-to-day operations of the
   9                       Company at the highest levels;
  10               (c)     was privy to confidential proprietary information concerning
  11                       the Company and its business and operations;
  12               (d)     was directly or indirectly involved in drafting, producing,
  13                       reviewing and/or disseminating the false and misleading
  14
                           statements and information alleged herein;
  15
                   (e)     was directly or indirectly involved in the oversight or
  16
                           implementation of the Company’s internal controls;
  17
                   (f)     was aware of or recklessly disregarded the fact that the false
  18
                           and misleading statements were being issued concerning the
  19
                           Company; and/or
  20
                   (g)     approved or ratified these statements in violation of the federal
  21
                           securities laws.
  22
             14.   The Company is liable for the acts of the Individual Defendants and
  23
       its employees under the doctrine of respondeat superior and common law
  24
  25
       principles of agency because all of the wrongful acts complained of herein were

  26   carried out within the scope of their employment.

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  30                            THE FEDERAL SECURITIES LAWS
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   1
             15.    The scienter of the Individual Defendants and other employees and

   2   agents of the Company is similarly imputed to the Company under respondeat

   3   superior and agency principles.
   4         16.    The Company and the Individual Defendants are referred to herein,
   5   collectively, as the “Defendants.”
   6                           SUBSTANTIVE ALLEGATIONS
   7                           Materially False and Misleading
   8                      Statements Issued During the Class Period
   9         17.    On October 5, 2015, the Company announced in a press release that
  10   it had completed nine acquisitions in the third quarter of 2015, including the
  11   intellectual property of “VDW (Netherlands).”
  12
  13         18.    On February 29, 2016, J2 Global filed with the SEC its annual report
  14   for the period ended December 31, 2015 (the “2015 10-K”), signed by Defendants
  15   Zucker and Turicchi. Attached to the 2015 10-K were certifications pursuant to
  16   the Sarbanes-Oxley Act of 2002 (“SOX”) signed by Defendants Zucker and
  17   Turicchi attesting to the accuracy of financial reporting, the disclosure of any
  18   material changes to the Company’s internal control over financial reporting and
  19   the disclosure of all fraud.
  20         19.    The 2015 10-K stated the following concerning its accounting
  21   treatment of long-lived and intangible assets:
  22         We account for long-lived assets in accordance with the provisions of
  23         FASB ASC Topic No. 360, Property, Plant, and Equipment (“ASC
             360”), which addresses financial accounting and reporting for the
  24
             impairment or disposal of long-lived assets.
  25
             We assess the impairment of identifiable definite-lived intangibles
  26
             and long-lived assets whenever events or changes in circumstances
  27         indicate that the carrying value may not be recoverable. Factors we
  28         consider important which could individually or in combination

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  30                           THE FEDERAL SECURITIES LAWS
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             trigger an impairment review include the following:
                 • significant underperformance relative to expected historical or
   2                projected future operating results;
   3             • significant changes in the manner of our use of the acquired
                    assets or the strategy for our overall business;
   4
                 • significant negative industry or economic trends;
   5             • significant decline in our stock price for a sustained period;
   6                and
                 • our market capitalization relative to net book value.
   7         If we determined that the carrying value of definite-lived intangibles
   8         and long-lived assets may not be recoverable based upon the
             existence of one or more of the above indicators of impairment, we
   9
             would record an impairment equal to the excess of the carrying
  10         amount of the asset over its estimated fair value.
  11
             We have assessed whether events or changes in circumstances have
  12         occurred that potentially indicate the carrying value of definite-
  13         lived intangibles and long-lived assets may not be recoverable and
             noted no indicators of potential impairment for the years ended
  14         December 31, 2015, 2014 and 2013.
  15
             (Emphasis added.)
  16
  17         20.   The 2015 10-K stated the following concerning its accounting
  18   treatment of goodwill and purchased intangible assets:
  19          We evaluate our goodwill and indefinite-lived intangible assets for
             impairment pursuant to FASB ASC Topic No. 350, Intangibles -
  20
             Goodwill and Other (“ASC 350”), which provides that goodwill and
  21         other intangible assets with indefinite lives are not amortized but
  22
             tested for impairment annually or more frequently if circumstances
             indicate potential impairment. In connection with the annual
  23         impairment test for goodwill, we have the option to perform a
  24         qualitative assessment in determining whether it is more likely than
             not that the fair value of a reporting unit is less than its carrying
  25         amount. If we determine that it was more likely than not that the fair
  26         value of the reporting unit is less than its carrying amount, then we
             perform the impairment test upon goodwill. The impairment test is
  27
             comprised of two steps: (1) a reporting unit's fair value is compared
  28
  29                                      5
                      CLASS ACTION COMPLAINT FOR VIOLATIONS OF
  30                         THE FEDERAL SECURITIES LAWS
  31
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   1
             to its carrying value; if the fair value is less than its carrying value,
             impairment is indicated; and (2) if impairment is indicated in the first
   2         step, it is measured by comparing the implied fair value of goodwill
   3         and intangible assets to their carrying value at the reporting unit
             level. In connection with the annual impairment test for intangible
   4         assets, we have the option to perform a qualitative assessment in
   5         determining whether it is more likely than not that the fair value is
             less than its carrying amount, then we perform the impairment test
   6
             upon intangible assets. We completed the required impairment
   7         review for the years ended December 31, 2015, 2014, and 2013 and
             noted no impairment. Consequently, no impairment charges were
   8
             recorded.
   9
  10         (Emphasis added.)
             21. As to transactions with related parties and the independence of the
  11
       Board of Directors, the 2015 10-K stated that the “information required by this
  12
       item is incorporated by reference to the information to be set forth in our 2015
  13
       Proxy Statement.”
  14
             22.   On March 23, 2016, the Company filed its 2015 Proxy Statement
  15
       with the SEC.
  16
  17
             23.   The 2015 Proxy Statement stated that “[a]ll of our directors are

  18   independent directors as defined in the Nasdaq listing standards and as determined

  19   by j2 Global's Board of Directors.”
  20         24.   The 2015 Proxy Statement stated that “[d]uring 2015, j2 Global was
  21   not a party to any transaction that would require disclosure pursuant to Item
  22   404(a) of Regulation S-K.”
  23
             25.   On March 1, 2017, J2 Global filed with the SEC its annual report for
  24
       the period ended December 31, 2016 (the “2016 10-K”), signed by Defendants
  25
       Zucker and Turicchi. Attached to the 2016 10-K were SOX certifications signed
  26
       by Defendants Zucker and Turicchi attesting to the accuracy of financial
  27
       reporting, the disclosure of any material changes to the Company’s internal
  28
  29                                       6
                       CLASS ACTION COMPLAINT FOR VIOLATIONS OF
  30                          THE FEDERAL SECURITIES LAWS
  31
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   1
       control over financial reporting and the disclosure of all fraud.

   2         26.    The 2016 10-K stated the following concerning its accounting

   3   treatment of long-lived and intangible assets:
   4         We account for long-lived assets in accordance with the provisions of
             FASB ASC Topic No. 360, Property, Plant, and Equipment (“ASC
   5         360”), which addresses financial accounting and reporting for the
   6         impairment or disposal of long-lived assets.
   7
             We assess the impairment of identifiable definite-lived intangibles
   8         and long-lived assets whenever events or changes in circumstances
   9
             indicate that the carrying value may not be recoverable. Factors we
             consider important which could individually or in combination
  10         trigger an impairment review include the following:
  11             • significant underperformance relative to expected historical or
                    projected future operating results;
  12
                 • significant changes in the manner of our use of the acquired
  13                assets or the strategy for our overall business;
  14
                 • significant negative industry or economic trends;
                 • significant decline in our stock price for a sustained period;
  15                and
  16             • our market capitalization relative to net book value.
             If we determined that the carrying value of definite-lived intangibles
  17
             and long-lived assets may not be recoverable based upon the
  18         existence of one or more of the above indicators of impairment, we
             would record an impairment equal to the excess of the carrying
  19
             amount of the asset over its estimated fair value.
  20
  21         We have assessed whether events or changes in circumstances have
             occurred that potentially indicate the carrying value of definite-
  22         lived intangibles and long-lived assets may not be recoverable and
  23         noted no indicators of potential impairment for the years ended
             December 31, 2016, 2015 and 2014.
  24
  25
             (Emphasis added.)
  26
             27.    The 2016 10-K stated the following concerning its accounting
  27
       treatment of goodwill and purchased intangible assets:
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  29                                       7
                       CLASS ACTION COMPLAINT FOR VIOLATIONS OF
  30                          THE FEDERAL SECURITIES LAWS
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   1
             We evaluate our goodwill and indefinite-lived intangible assets for
   2         impairment pursuant to FASB ASC Topic No. 350, Intangibles -
   3
             Goodwill and Other (“ASC 350”), which provides that goodwill and
             other intangible assets with indefinite lives are not amortized but
   4         tested for impairment annually or more frequently if circumstances
   5         indicate potential impairment. In connection with the annual
             impairment test for goodwill, we have the option to perform a
   6         qualitative assessment in determining whether it is more likely than
   7         not that the fair value of a reporting unit is less than its carrying
             amount. If we determine that it was more likely than not that the fair
   8
             value of the reporting unit is less than its carrying amount, then we
   9         perform the impairment test upon goodwill. The impairment test is
             comprised of two steps: (1) a reporting unit’s fair value is compared
  10
             to its carrying value; if the fair value is less than its carrying value,
  11         impairment is indicated; and (2) if impairment is indicated in the first
  12         step, it is measured by comparing the implied fair value of goodwill
             and intangible assets to their carrying value at the reporting unit
  13         level. In connection with the annual impairment test for intangible
  14         assets, we have the option to perform a qualitative assessment in
             determining whether it is more likely than not that the fair value is
  15         less than its carrying amount, then we perform the impairment test
  16         upon intangible assets. We completed the required impairment
             review for the years ended December 31, 2016, 2015, and 2014 and
  17
             noted no impairment. Consequently, no impairment charges were
  18         recorded.
  19
  20         (Emphasis added.)

  21         28.   As to transactions with related parties and the independence of the
  22   Board of Directors, the 2016 10-K stated that the “information required by this
  23   item is incorporated by reference to the information to be set forth in our 2017
  24   Proxy Statement.”
  25         29.   On March 23, 2017, the Company filed its 2017 Proxy Statement
  26   with the SEC.
  27         30.   The 2017 Proxy Statement stated that “j2 Global's Board of Directors
  28
  29                                       8
                       CLASS ACTION COMPLAINT FOR VIOLATIONS OF
  30                          THE FEDERAL SECURITIES LAWS
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        has determined that all of our directors are independent within the meaning of the

    2   rules of the SEC and the listing rules of the NASDAQ Stock Market.”

    3         31.    The 2017 Proxy Statement stated that the “RPT Policy prohibits all
    4   Related-Party Transactions unless they are approved or ratified by the Corporate
    5   Governance and Nominating Committee. If a transaction or relationship
    6   constitutes a Related-Party Transaction, the Committee will then review the
    7   transaction or relationship to determine whether to approve or ratify the
    8   transaction.” The 2017 Proxy Statement stated that “[s]ince January 1, 2016, j2
    9   Global has not been a party to any transaction that would require disclosure
   10   pursuant to Item 404(a) of Regulation S-K.”
   11
              32.    On March 1, 2018, J2 Global filed with the SEC its annual report for
   12
   13
        the period ended December 31, 2017 (the “2017 10-K”), signed by Defendants

   14   Shah and Turicchi. Attached to the 2017 10-K were SOX certifications signed by

   15   Defendants Shah and Turicchi attesting to the accuracy of financial reporting, the
   16   disclosure of any material changes to the Company’s internal control over
   17   financial reporting and the disclosure of all fraud.
   18         33.    The 2017 10-K stated the following concerning its accounting
   19   treatment of long-lived and intangible assets:
   20         We account for long-lived assets in accordance with the provisions of
   21
              FASB ASC Topic No. 360, Property, Plant, and Equipment (“ASC
              360”), which addresses financial accounting and reporting for the
   22         impairment or disposal of long-lived assets.
   23
              We assess the impairment of identifiable definite-lived intangibles
   24         and long-lived assets whenever events or changes in circumstances
   25         indicate that the carrying value may not be recoverable. Factors we
              consider important which could individually or in combination
   26
              trigger an impairment review include the following:
   27             • significant underperformance relative to expected historical or
   28
                     projected future operating results;

   29                                       9
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   30                          THE FEDERAL SECURITIES LAWS
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    1            • significant changes in the manner of our use of the acquired
                    assets or the strategy for our overall business;
    2            • significant negative industry or economic trends;
    3            • significant decline in our stock price for a sustained period;
                    and
    4
                 • our market capitalization relative to net book value.
    5         If we determined that the carrying value of definite-lived intangibles
    6         and long-lived assets may not be recoverable based upon the
              existence of one or more of the above indicators of impairment, we
    7         would record an impairment equal to the excess of the carrying
    8         amount of the asset over its estimated fair value.
    9         We have assessed whether events or changes in circumstances have
   10         occurred that potentially indicate the carrying value of definite-
              lived intangibles and long-lived assets may not be recoverable and
   11
              noted no indicators of potential impairment for the years ended
   12         December 31, 2017, 2016 and 2015.
   13
   14         (Emphasis added.)

   15         34.   The 2017 10-K stated the following concerning its accounting
   16   treatment of goodwill and purchased intangible assets:
   17
              We evaluate our goodwill and indefinite-lived intangible assets for
   18         impairment pursuant to FASB ASC Topic No. 350, Intangibles -
   19         Goodwill and Other (“ASC 350”), which provides that goodwill and
              other intangible assets with indefinite lives are not amortized but
   20
              tested for impairment annually or more frequently if circumstances
   21         indicate potential impairment. In connection with the annual
              impairment test for goodwill, we have the option to perform a
   22
              qualitative assessment in determining whether it is more likely than
   23         not that the fair value of a reporting unit is less than its carrying
   24         amount. If we determine that it was more likely than not that the fair
              value of the reporting unit is less than its carrying amount, then we
   25         perform the impairment test upon goodwill. The impairment test is
   26         comprised of two steps: (1) a reporting unit’s fair value is compared
              to its carrying value; if the fair value is less than its carrying value,
   27         impairment is indicated; and (2) if impairment is indicated in the first
   28         step, it is measured by comparing the implied fair value of goodwill
   29                                       10
                        CLASS ACTION COMPLAINT FOR VIOLATIONS OF
   30                          THE FEDERAL SECURITIES LAWS
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              and intangible assets to their carrying value at the reporting unit
              level. In connection with the annual impairment test for intangible
    2         assets, we have the option to perform a qualitative assessment in
    3         determining whether it is more likely than not that the fair value is
              less than its carrying amount, then we perform the impairment test
    4         upon intangible assets. We completed the required impairment
    5         review for the years ended December 31, 2017, 2016, and 2015 and
              noted no impairment. Consequently, no impairment charges were
    6
              recorded.
    7
    8
    9
              (Emphasis added.)

   10         35.    As to transactions with related parties and the independence of the

   11   Board of Directors, the 2017 10-K stated that the “information required by this
   12   item is incorporated by reference to the information to be set forth in our 2018
   13   Proxy Statement.”
   14         36.    On March 23, 2018, the Company filed its 2018 Proxy Statement
   15   with the SEC.
   16         37.    The 2018 Proxy Statement stated that “j2 Global's Board of Directors
   17   has determined that all of our directors, other than our Chief Executive Officer,
   18   Mr. Shah, are independent within the meaning of the rules of the SEC and the
   19   listing rules of the NASDAQ Stock Market.”
   20         38.    The 2018 Proxy Statement stated that the “RPT Policy prohibits all
   21   Related-Party Transactions unless they are approved or ratified by the Corporate
   22
        Governance and Nominating Committee. If a transaction or relationship
   23
        constitutes a Related-Party Transaction, the Committee will then review the
   24
        transaction or relationship to determine whether to approve or ratify the
   25
        transaction.” The 2018 Proxy Statement stated that the Company had entered into
   26
        the following related party transaction:
   27
              On September 25, 2017, the Board of Directors authorized the
   28
   29                                       11
                        CLASS ACTION COMPLAINT FOR VIOLATIONS OF
   30                          THE FEDERAL SECURITIES LAWS
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              Company to enter into a commitment to invest $200 million in an
              investment fund (the "Fund"). The manager, OCV Management, LLC
    2         ("OCV"), and general partner of the Fund are entities with respect to
    3         which Mr. Ressler, Chairman of the Board of Directors, is indirectly
              the majority equity holder. In addition, Mr. Zucker, who resigned
    4         from the position of Chief Executive Officer of the Company
    5         effective December 31, 2017 and who serves as an advisor to the
              Company through December 31, 2018 pursuant to the Letter
    6
              Agreement described above, has become a co-managing principal of
    7         OCV and a significant equity holder. As a limited partner in the
              Fund, the Company will pay an annual management fee to the
    8
              manager equal to 2.0% (reduced by 10% each year beginning with
    9         the sixth year) of capital commitments. In addition, subject to the
   10         terms and conditions of the Fund's limited partnership agreement,
              once the Company has received distributions equal to its invested
   11         capital, the Fund's general partner would be entitled to a carried
   12         interest equal to 20%. The Fund has a six year investment period,
              subject to certain exceptions. The commitment was approved by the
   13         Audit Committee of the Board in accordance with the RPT Policy.
   14         In February 2018, the Company received a capital call notice from
              the management of OCV for approximately $12.2 million, inclusive
   15
              of certain management fees.
   16
              39.    On March 1, 2019, J2 Global filed with the SEC its annual report for
   17
        the period ended December 31, 2018 (the “2018 10-K”), signed by Defendants
   18
        Shah and Turicchi. Attached to the 2018 10-K were SOX certifications signed by
   19
        Defendants Shah and Turicchi attesting to the accuracy of financial reporting, the
   20
   21
        disclosure of any material changes to the Company’s internal control over

   22   financial reporting and the disclosure of all fraud.

   23         40.    The 2018 10-K stated the following concerning its accounting
   24   treatment of long-lived and intangible assets:
   25         We account for long-lived assets in accordance with the provisions of
              FASB ASC Topic No. 360, Property, Plant, and Equipment (“ASC
   26
              360”), which addresses financial accounting and reporting for the
   27         impairment or disposal of long-lived assets.
   28
   29                                       12
                        CLASS ACTION COMPLAINT FOR VIOLATIONS OF
   30                          THE FEDERAL SECURITIES LAWS
   31
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    1
              We assess the impairment of identifiable definite-lived intangibles
              and long-lived assets whenever events or changes in circumstances
    2         indicate that the carrying value may not be recoverable. Factors we
    3         consider important which could individually or in combination
              trigger an impairment review include the following:
    4             • significant underperformance relative to expected historical or
    5                projected future operating results;
                  • significant changes in the manner of our use of the acquired
    6
                     assets or the strategy for our overall business;
    7             • significant negative industry or economic trends;
    8             • significant decline in our stock price for a sustained period;
                     and
    9
                  • our market capitalization relative to net book value.
   10         If we determined that the carrying value of definite-lived intangibles
              and long-lived assets may not be recoverable based upon the
   11
              existence of one or more of the above indicators of impairment, we
   12         would record an impairment equal to the excess of the carrying
   13         amount of the asset over its estimated fair value.

   14
   15         We have assessed whether events or changes in circumstances have
              occurred that potentially indicate the carrying value of definite-
   16         lived intangibles and long-lived assets may not be recoverable and
   17         noted no indicators of potential impairment for the years ended
              December 31, 2018, 2017 and 2016.
   18
   19
              (Emphasis added.)
   20
              41.   The 2018 10-K stated the following concerning its accounting
   21
        treatment of goodwill and purchased intangible assets:
   22
   23         We evaluate our goodwill and indefinite-lived intangible assets for
   24         impairment pursuant to FASB ASC Topic No. 350, Intangibles -
              Goodwill and Other (“ASC 350”), which provides that goodwill and
   25         other intangible assets with indefinite lives are not amortized but
   26         tested for impairment annually or more frequently if circumstances
              indicate potential impairment. In connection with the annual
   27
              impairment test for goodwill, we have the option to perform a
   28
   29                                      13
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    1
              qualitative assessment in determining whether it is more likely than
              not that the fair value of a reporting unit is less than its carrying
    2         amount. If we determine that it was more likely than not that the fair
    3         value of the reporting unit is less than its carrying amount, then we
              perform the impairment test upon goodwill. The impairment test is
    4         performed by comparing a reporting unit’s fair value to its carrying
    5         value; if the fair value is less than its carrying value, impairment is
              indicated. In connection with the annual impairment test for
    6
              intangible assets, we have the option to perform a qualitative
    7         assessment in determining whether it is more likely than not that the
              fair value is less than its carrying amount, then we perform the
    8
              impairment test upon intangible assets.
    9
   10         In the fourth quarter of 2018, there was a change to our reporting
              units. As a result of this change, we allocated goodwill to our new
   11         reporting units using a relative fair value approach. In addition, we
   12         completed an assessment of any potential goodwill impairment for
              all reporting units immediately before and after the reallocation
   13         and determined no impairment existed. Further, we completed the
   14         required impairment review for the years ended December 31, 2017
              and 2016 and noted no impairment. Consequently, no impairment
   15
              charges were recorded.
   16
   17
              (Emphasis added.)

   18         42.   As to transactions with related parties and the independence of the

   19   Board of Directors, the 2018 10-K stated that the “information required by this
   20   item is incorporated by reference to the information to be set forth in our 2019
   21   Proxy Statement.”
   22         43.   On March 22, 2019, the Company filed its 2019 Proxy Statement
   23   with the SEC.
   24         44.   The 2019 Proxy Statement stated that “j2 Global's Board of Directors
   25   has determined that all of our directors, other than our Chief Executive Officer,
   26   Mr. Shah, are independent within the meaning of the rules of the SEC and the
   27   listing rules of the NASDAQ Stock Market.”
   28
   29                                       14
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   30                          THE FEDERAL SECURITIES LAWS
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    1
              45.    The 2019 Proxy Statement stated that the “RPT Policy prohibits all

    2   Related-Party Transactions unless they are approved or ratified by the Corporate

    3   Governance and Nominating Committee. If a transaction or relationship
    4   constitutes a Related-Party Transaction, the Committee will then review the
    5   transaction or relationship to determine whether to approve or ratify the
    6   transaction.” The 2019 Proxy Statement stated that the Company had entered into
    7   the following related party transaction:
    8         On September 25, 2017, the Board of Directors authorized the
    9
              Company to enter into a commitment to invest $200 million in an
              investment fund (the "Fund"). The manager, OCV Management, LLC
   10         ("OCV"), and general partner of the Fund are entities with respect to
   11         which Mr. Ressler, Chairman of the Board of Directors, is indirectly
              the majority equity holder. In addition, Mr. Zucker, who resigned
   12         from the position of Chief Executive Officer of the Company
   13         effective December 31, 2017 and who serves as an advisor to the
              Company through December 31, 2018 pursuant to the Letter
   14
              Agreement described above, has become a co-managing principal of
   15         OCV and a significant equity holder. As a limited partner in the
              Fund, the Company will pay an annual management fee to the
   16
              manager equal to 2.0% (reduced by 10% each year beginning with
   17         the sixth year) of capital commitments. In addition, subject to the
   18         terms and conditions of the Fund's limited partnership agreement,
              once the Company has received distributions equal to its invested
   19         capital, the Fund's general partner would be entitled to a carried
   20         interest equal to 20%. The Fund has a six year investment period,
              subject to certain exceptions. The commitment was approved by the
   21         Audit Committee of the Board in accordance with the RPT Policy.
   22         In 2018, the Company received six capital call notices from the
              management of OCV for approximately $36.8 million, inclusive of
   23
              certain management fees.
   24
              46.    On March 1, 2020, J2 Global filed with the SEC its annual report for
   25
        the period ended December 31, 2019 (the “2018 10-K”), signed by Defendants
   26
        Shah and Turicchi. Attached to the 2019 10-K were SOX certifications signed by
   27
        Defendants Shah and Turicchi attesting to the accuracy of financial reporting, the
   28
   29                                       15
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   30                          THE FEDERAL SECURITIES LAWS
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    1
        disclosure of any material changes to the Company’s internal control over

    2   financial reporting and the disclosure of all fraud.

    3         47.    The 2019 10-K stated the following concerning its accounting
    4   treatment of long-lived and intangible assets:
    5         We account for long-lived assets in accordance with the provisions of
              FASB ASC Topic No. 360, Property, Plant, and Equipment (“ASC
    6
              360”), which addresses financial accounting and reporting for the
    7         impairment or disposal of long-lived assets.
    8
              We assess the impairment of identifiable definite-lived intangibles
    9         and long-lived assets whenever events or changes in circumstances
   10         indicate that the carrying value may not be recoverable. Factors we
              consider important which could individually or in combination
   11         trigger an impairment review include the following:
   12             • significant underperformance relative to expected historical or
                     projected future operating results;
   13
                  • significant changes in the manner of our use of the acquired
   14                assets or the strategy for our overall business;
   15             • significant negative industry or economic trends;
                  • significant decline in our stock price for a sustained period;
   16                and
   17             • our market capitalization relative to net book value.
              If we determined that the carrying value of definite-lived intangibles
   18
              and long-lived assets may not be recoverable based upon the
   19         existence of one or more of the above indicators of impairment, we
   20
              would record an impairment equal to the excess of the carrying
              amount of the asset over its estimated fair value.
   21
   22
              We have assessed whether events or changes in circumstances have
   23         occurred that potentially indicate the carrying value of definite-
   24         lived intangibles and long-lived assets may not be recoverable and
              noted no indicators of potential impairment for the years ended
   25
              December 31, 2019, 2018 and 2017.
   26
   27         (Emphasis added.)
   28
   29                                       16
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   30                          THE FEDERAL SECURITIES LAWS
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    1
              48.   The 2019 10-K stated the following concerning its accounting

    2   treatment of business combinations, goodwill and purchased intangible assets:

    3
              We apply the acquisition method of accounting for business
    4         combinations in accordance with GAAP, which requires us to make
    5         use of estimates and judgments to allocate the purchase price paid for
              acquisitions to the fair value of the assets, including identifiable
    6         intangible assets and liabilities acquired. Such estimates may be
    7         based on significant unobservable inputs and assumptions such as,
              but not limited to, revenue growth rates, gross margins, customer
    8
              attrition rates, royalty rates, discount rates and terminal growth rate
    9         assumptions. We use established valuation techniques and may
              engage reputable valuation specialists to assist with the valuations.
   10
              Management’s estimates of fair value are based upon assumptions
   11         believed to be reasonable, but which are inherently uncertain and
   12         unpredictable and, as a result, actual results may differ from
              estimates. Fair values are subject to refinement for up to one year
   13         after the closing date of an acquisition as information relative to
   14         closing date fair values becomes available. Upon the conclusion of
              the measurement period, any subsequent adjustments are recorded to
   15         earnings.
   16
              We evaluate our goodwill and indefinite-lived intangible assets for
   17
              impairment pursuant to FASB ASC Topic No. 350, Intangibles -
   18         Goodwill and Other (“ASC 350”), which provides that goodwill and
   19
              other intangible assets with indefinite lives are not amortized but
              tested for impairment annually or more frequently if circumstances
   20         indicate potential impairment. In connection with the annual
   21         impairment test for goodwill, we have the option to perform a
              qualitative assessment in determining whether it is more likely than
   22         not that the fair value of a reporting unit is less than its carrying
   23         amount. If we determine that it was more likely than not that the fair
              value of the reporting unit is less than its carrying amount, then we
   24
              perform the impairment test upon goodwill. The impairment test is
   25         performed by comparing a reporting unit’s fair value to its carrying
              value; if the fair value is less than its carrying value, impairment is
   26
              indicated. In connection with the annual impairment test for
   27         intangible assets, we have the option to perform a qualitative
   28         assessment in determining whether it is more likely than not that the

   29                                      17
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    1
              fair value is less than its carrying amount, then we perform the
              impairment test upon intangible assets.
    2
    3         In the fourth quarter of 2018, there was a change to our reporting
              units. As a result of this change, we allocated goodwill to our new
    4         reporting units using a relative fair value approach. In addition, we
    5         completed an assessment of any potential goodwill impairment for
              all reporting units immediately before and after the reallocation
    6
              and determined no impairment existed. Further, we completed the
    7         required impairment review for the years ended December 31,
              2019, 2018 and 2017 and noted no impairment. Consequently, no
    8
              impairment charges were recorded.
    9
   10         (Emphasis added.)

   11         49.    As to transactions with related parties and the independence of the
   12   Board of Directors, the 2019 10-K stated that the “information required by this
   13   item is incorporated by reference to the information to be set forth in our 2020
   14   Proxy Statement.”
   15         50.    On March 26, 2020, the Company filed its 2020 Proxy Statement
   16   with the SEC.
   17         51.    The 2020 Proxy Statement stated that “J2 Global’s Board of
   18   Directors has determined that all of our directors, other than our Chief Executive
   19   Officer, Mr. Shah, are independent within the meaning of the rules of the SEC and
   20   the listing rules of the NASDAQ Stock Market.”
   21         52.    The 2020 Proxy Statement stated that the “RPT Policy prohibits all
   22
        Related-Party Transactions unless they are approved or ratified by the Corporate
   23
        Governance and Nominating Committee. If a transaction or relationship
   24
        constitutes a Related-Party Transaction, the Committee will then review the
   25
        transaction or relationship to determine whether to approve or ratify the
   26
        transaction.” The 2020 Proxy Statement stated that the Company had entered into
   27
        the following related party transaction:
   28
   29                                       18
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   30                          THE FEDERAL SECURITIES LAWS
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    1
              On September 25, 2017, the Board of Directors authorized the
              Company to enter into a commitment to invest $200 million in an
    2         investment fund (the “Fund”). The manager, OCV Management,
    3         LLC (“OCV”), and general partner of the Fund are entities with
              respect to which Mr. Ressler, Chairman of the Board of Directors, is
    4         indirectly the majority equity holder. In addition, Mr. Zucker, who
    5         resigned from the position of Chief Executive Officer of the
              Company effective December 31, 2017 and who serves as an advisor
    6
              to the Company through December 31, 2018 has become a co-
    7         managing principal of OCV and a significant equity holder. As a
              limited partner in the Fund, the Company will pay an annual
    8
              management fee to the manager equal to 2.0% (reduced by 10% each
    9         year beginning with the sixth year) of capital commitments. In
   10         addition, subject to the terms and conditions of the Fund’s limited
              partnership agreement, once the Company has received distributions
   11         equal to its invested capital, the Fund’s general partner would be
   12         entitled to a carried interest equal to 20%. The Fund has a six year
              investment period, subject to certain exceptions. The commitment
   13         was approved by the Audit Committee of the Board in accordance
   14         with the RPT Policy. In 2019, the Company received nine capital call
              notices from the management of OCV for approximately $29.6
   15
              million, inclusive of certain management fees. The also Company
   16         received approximately $10.3 million in distributions from OCV in
   17
              2019.

   18         53.   The statements referenced in ¶¶17-52 above were materially false
   19   and/or misleading because they misrepresented and failed to disclose the
   20   following adverse facts pertaining to the Company’s business, operational and
   21   financial results, which were known to Defendants or recklessly disregarded by
   22
        them. Specifically, Defendants made false and/or misleading statements and/or
   23
        failed to disclose that: (1) J2 Global engaged in undisclosed related party
   24
        transactions; (2) J2 Global used misleading accounting to hide requisite
   25
        impairments and underperformance in acquisitions; (3) several so-called
   26
        independent members of the Company’ board of directors and audit committee
   27
        were not disinterested; and (4) as a result, Defendants’ public statements were
   28
   29                                      19
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    1
        materially false and/or misleading at all relevant times.

    2                               THE TRUTH EMERGES

    3         54.    On June 30, 2020, before the market opened, Hindenburg Research
    4   published a report (the “Report”) explaining that J2 Global had, among other
    5   issues: (i) failed to disclose questionable transactions with related parties; (ii);
    6   utilized misleading accounting to hide underperformance and impending
    7   impairments; and (iii) failed to disclose a lack of board independence.
    8         55.    The Report noted the following, in pertinent part, regarding J2
    9   Global’s undisclosed related party transactions:
   10
              Related Party Transactions: J2 and its executives have a several
   11         decades long history of related party acquisitions and undisclosed
   12
              self-dealing, including:

   13         1.     Using what we estimate to be $20 million in shareholder capital
              to acquire a newly-formed entity set up by J2’s then VP of Corporate
   14         Development. The entity was headquartered at his personal residence
   15         in the Netherlands, and the conflict was never disclosed.
   16         2.     Committing $200 million of shareholder cash to the J2
   17         Chairman’s newly-formed VC firm despite a consistent track record
              of prior investment failures. J2 expects to commit an additional $100
   18         million, for a total of $300 million.
   19
              3.     One of the earliest investments made by the VC vehicle, an
   20         estimated $12 million, was to an entity whose incorporation
              documents list J2 Chairman Richard Ressler’s nephew and lawyer –
   21
              an indirect related party transaction. We discuss this entity in more
   22         detail below.
   23         4.     J2 Chairman’s track record includes the initial backing,
   24         majority ownership, directorship and affiliated executive role in
              publicly traded biotech company called Presbia that itself operated a
   25
              newly-formed entity out of the exact same personal residence
   26         owned by J2’s VP of Corporate Development. That company has
              seen its stock fall ~99% in the last 5 years.
   27
   28
   29                                       20
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   30                          THE FEDERAL SECURITIES LAWS
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    1
             5.    Previously, J2 had acquired yet another entity based out of the
             same employee’s personal residence back in 2004.
    2
             To reiterate: J2’s former VP of Corporate Development had
    3        formed 3 entities out of his house that were then
    4        acquired/operated by J2 and another company headed by J2’s
             Chairman that cost/incurred losses totaling an estimated $30
    5
             million.
    6
             That same VP of Corporate Development was responsible for 135
    7        M&A transactions at J2, according to his LinkedIn profile. That
    8        number represents ~73% of the acquisitions in the company’s history.
    9        J2 has historically provided limited disclosure to investors on its
             acquisition portfolio, raising the prospect of broader malfeasance
   10
             given 1) this individual’s oversight of these transactions and 2) the
   11        close ties he had with the company’s Chairman. He was also integral
   12        in J2’s European expansion, helping J2 acquire dozens of businesses.
             Contrary to sell-side perception, many of these businesses have shown
   13        significant fundamental deterioration and warrant further impairment
   14        testing.
   15                                     *     *     *

   16              The Company Completely Failed to Disclose the Clear
             Conflict (And Barely Disclosed the Deal at All)
   17
   18
             In October 2015, J2 announced in a press release that it had acquired 9
             businesses. Among the acquisitions, listed under “Intellectual
   19        Property” on the press release, was a company called VDW
   20        (Netherlands).

   21        2’s 2015 annual report did not mention the transaction by name or
             give any more color on it. Since the press release tucking it in with
   22
             eight other acquisitions was the only evidence we could find of the
   23        transaction, it was easy to miss.
   24        The company only reported the initials of the entity, “VDW”. Its full
   25        name, according to Dutch corporate records, is actually Van der
             Weijden M&A Consultancy BV. It was set up 11 months earlier, in
   26        December 2014, in the name of long-time J2 employee Jeroen van der
   27        Weijden, according to the same records. Perhaps that is why the
             company thought “VDW” was a better choice for its disclosures.
   28
   29                                     21
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    1
             The company was registered to Van der Weijden’s personal residence
             in Amsterdam (at Pieter Pauwstraat 2A-H), according to the same
    2        corporate records, and listed a total of zero employees.
    3        [image omitted]
    4        Dutch real estate records confirm that the residence belonged to
    5        Jeroen.
    6        [image omitted]
    7
             And here is a picture of the residence, via Google Maps:
    8
    9        [image omitted]
   10        The company never disclosed the purchase price for VDW, but based
             on an analysis of the price of the other transactions that quarter we
   11
             estimated the number.[2] We emailed the company asking to provide
   12        the number and had not received a response as of publication.[3]
   13        Following publication, the company disclosed the purchase price. It
   14        also stated that Jeroen was a consultant not an employee, contrary to
             the representation on his LinkedIn profile.
   15
             We urge the company to provide shareholders and its auditors full
   16
             detail on this transaction along with any additional conflicted
   17        transactions.
   18        As we will show, this personal residence housed four different
   19        businesses: (1) J2 Global NV (2) VDW (3) Presbia (discussed below),
             and (4) a business run by Jeroen’s brothers.
   20
                                        *      *     *
   21
   22
             The Acquired Entity Was Dissolved Shortly After the Employee
             Left the Firm
   23
             Jeroen left J2 in 2018, according to his LinkedIn profile. The
   24        Netherlands Chamber of Commerce registry for VDW says that the
   25        corporation had been dissolved shortly thereafter, effective October
             18, 2019.
   26
             Given that Jeroen was already working for J2 as an M&A advisor, per
   27
             his Linkedin Profile, we found it tremendously odd that the company
   28
   29                                     22
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   30                        THE FEDERAL SECURITIES LAWS
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    1
             acquired his M&A advisory consultancy firm, without disclosing the
             obvious conflict, then just dissolved the entity shortly after he left. In
    2        the company’s response post-publication, it stated the dissolving
    3        corporate entities following acquisition is normal.
    4        Lastly, and perhaps most troubling, Jeroen held key responsibility for
             the 135+ acquisitions he oversaw while at J2. We only went through a
    5
             fraction of the deals (largely because of J2’s opaque disclosures) and
    6        found obvious red flags. Per Jeroen’s LinkedIn profile, he managed:
    7        “Sourcing and handling over 135 M&A transactions, while managing
    8        all aspects of the acquisition process from scoping, planning,
             execution, follow up, and reporting.”
    9
             Note that J2 has completed 186 acquisitions, suggesting that Jeroen,
   10
             who was apparently the beneficiary and key participant in an
   11        undisclosed related-party transaction, was involved in over 73% of
   12        J2’s acquisitions. Given that the audit committee nor the head of
             M&A appear to be functioning appropriately, it is our view that
   13        independent and external parties should conduct investigations on
   14        each and every one of the 135 deals that Jeroen oversaw.
   15                                     *      *      *
   16
             J2 Chairman Richard Ressler’s Track Record Includes a Slew of
   17        Failures, Along With Signs of Other Undisclosed Related-Party
   18        Dealings

   19        Given that the newly-formed OCV had no track record, we explored
             Ressler’s track record outside of J2 in order to understand whether the
   20        massive diversion of resources to his firm was the best possible use of
   21        investor capital.
   22        We found that Ressler’s other venture investments comprised a
   23        remarkable string of investment failures, marred by signs of related-
             party transactions and forms of self-enrichment. A brief case study of
   24        his investment in a company called Presbia follows. (In Appendix A
   25        we break down Ressler’s track record – in summary, 10/12
             investments were 0s or near 0s.)
   26
             Other venture investors seem to have come to the same conclusion on
   27
             Ressler’s track record. In January 2018 (shortly after J2’s massive
   28
   29                                      23
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   30                         THE FEDERAL SECURITIES LAWS
   31
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    1
             allocation to OCV was signed), J2’s CFO, Scott Turicchi, stated that
             OCV would raise a further $100m+ dollars from other investors –
    2        predominantly on the back of Ressler being a “savvy investor”. [Pg.
    3        20]
    4        That interest never seemed to materialize however. Per OCV’s 2020
             ADV filing with the SEC, it manages around $240 million, meaning
    5
             that J2’s commitment likely will make up almost 85% of the firm’s
    6        gross assets.
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
                                           *      *     *

   23        Why Are J2 and its Related Individuals Acquiring Multiple
             Entities Based Out of the Same Residence?
   24
             In 2004, J2 paid roughly $1 million to $2 million to acquire Jump
   25
             B.V. [Pg. 8, Pg. 1], an entity based in the Netherlands founded by its
   26        eventual VP of Corporate Development, Jeroen Van der Weijden (for
   27        context, this ~$1-2m was 1-2% of the then JCOM revenue). Per J2’s

   28
   29                                     24
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    1
              filings, Jump was described as a provider of fax-to-email and unified
              messaging services, which fits with J2’s primary focus at the time.
    2
              Per Dutch corporate records, Jump was later reorganized as J2 Global
    3         Netherlands, and was based at the exact same residential apartment
    4         that later J2 acquisition VdW was registered (along with the
              subsidiary of Presbia mentioned earlier):
    5
    6
    7
    8
    9
   10
   11
   12
   13         We reiterate: Why did J2 and its related individuals acquire multiple
   14         entities run by the same individual based out of the same residence?
   15
   16         56.   The Report noted the following, in pertinent part, regarding J2

   17   Global’s misleading accounting:
   18         Undisclosed Goodwill & Intangible Impairments: Whereas J2
   19         hasn’t recognized goodwill impairments at its parent level, audits at
              J2’s subsidiaries show a slew of goodwill impairments. We have also
   20         found signs that multiple acquisitions are clearly underperforming and
   21         likely necessitate obvious impairments that haven’t been taken.
   22         1.    As one example, a key J2 subsidiary recorded an €22 million
              impairment despite zero goodwill impairment recognized at the parent
   23
              corporation.
   24
              2.     Of J2’s 14 “feature” web-based brands, 9 have seen Alexa
   25         traffic rankings plummet in the past several years, making them
   26         obvious candidates for goodwill impairments.
   27         3.    Trouble with the perfect acquisition machine:
   28
   29                                      25
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   30                         THE FEDERAL SECURITIES LAWS
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    1
             o      Everyday Health, J2’s largest acquisition, saw an immediate
             post-acquisition revenue drop of ~25%, yet no impairment was
    2        recorded. Instead, J2 went on a spree of asset disposals/acquisitions
    3        that obfuscated the entity’s financial position.
    4        o      J2’s key European subsidiary has seen its revenue decline 27%
             in the past 3 years, with operating income swinging from €5.2 million
    5
             to negative €11.5 million.
    6
             4.    VDW, a dissolved undisclosed related-party transaction that
    7        should likely be a full write-off.
    8
             5.    The VC vehicle J2 has invested in has an asset that appears to
    9        be a conflicted related party. A former employee we spoke with said
             the operations are currently dormant and its staff have been laid off.
   10
             (Note that another of the VC vehicle investments is down 50% since
   11        IPO which will reflect on the financials on a mark-to-market basis.)
   12        Even though the company has completed $2bn of acquisitions since
   13        2012, mostly in digital media (and cloud services businesses), J2’s
             predominant legacy fax segment still represented 64% of LTM
   14
             operating income. Last quarter, it accounted for 83% of operating
   15        income despite the time, cash, and assumed debt through J2’s
             acquisition spree.
   16
   17        Approximately ~$700m of acquisitions for which we have visibility
             are seeing revenue declines, appear to be underperforming, or have
   18        been outright dissolved. That is approximately 1/3 of acquisitions
   19        completed since 2012 (of $2bn) – yet we have seen no impairment of
             goodwill to date. We estimate $155 million in impairments across this
   20
             subset based on our review. If extrapolated across the acquisitions for
   21        which we have zero to little visibility the picture likely worsens.
   22        The disproportionate underperformance of the marquee Everyday
   23        Health acquisition should round-out the need for investigation. The
             opaque nature of J2’s M&A program has also left investors in the dark
   24        on the magnitude of insider enrichment and fundamental deterioration
   25        of the underlying businesses.
   26                                    *     *      *
   27
   28
   29                                     26
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    1
             J2’s Largest Acquisition, Everyday Health, Was Acquired in 2016
             for $493 Million. It Saw an Immediate Annual Revenue Decline of
    2        ~25%.
    3
             J2 Has Yet to Record An Impairment. Instead, Everyday’s
    4        Financials Have Been Obfuscated Through A Series of
    5        Acquisitions And Divestitures
    6        In December 2016, J2 acquired Everyday Health for $493.7 million,
             its largest-ever acquisition. [Pg. 75]
    7
    8
             At the time, Everyday Health was a portfolio of health-focused online
             properties that included consumer and professional oriented brands
    9        such as Mayo Clinic Diet, MedPage Today, and What to Expect.
   10        A chart from J2’s March 2020 analyst day presentation shows
   11        consistent rising revenue at Everyday Health Group, suggesting that
             the acquisition has been a raging success:
   12
   13        [image omitted]

   14        The public financials of Everyday Health show that LTM revenue up
             until September 2016 (months before the acquisition) was $254
   15
             million [Pg. 2, Pg. 2, Pg. 2, Pg. 31]. The 2017 numbers declined
   16        precipitously (to $171 million), but rather than recognizing the
             underperformance and taking a goodwill impairment, J2 went on a
   17
             spree of divestitures and acquisitions in the division that effectively
   18        obfuscated the reported metrics.
   19        The company explained the 2017 dip by calling it a period of “shrink
   20        to grow” where it was divesting assets.
   21        But even after factoring the 2 divestitures from that year, year over
   22
             year revenue in the division declined by an estimated $65 million, or
             25%.[5]
   23
             Revenue in the Everyday Health division still has not reached its pre-
   24        acquisition levels despite the 5 subsequent acquisitions folded into the
   25        subsidiary.
   26        Such a steep revenue decline seems to clearly warrant a goodwill
   27
             impairment, yet the company has taken none to date.

   28
   29                                     27
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    1
              Once again, this is J2’s largest acquisition and shows clear signs of
              impairment. Rather than addressing it, a slew of new M&A deals have
    2         simply papered over the issue.
    3
                                          *     *      *
    4
    5         Tricky Accounting: A Wholly Owned Subsidiary of J2 Reported
              €36 Million (~$50 Million USD) in Impairments, Yet the Parent
    6
              Reported None. (This Shouldn’t Be Possible)
    7
              For example, subsidiary J2 Global Holdings is the 100% owner of
    8         entity J2 Global Ireland. [Pg. 25] The parent shows zero
    9
              impairments in 2015, but the latter—a wholly owned subsidiary—
              shows €22 million in impairments in the exact same year. This
   10         shouldn’t be possible.
   11                                       *      *     *
   12
              Cumulatively, we found 36 million Euro (~US$50 million) of
              impairments at the subsidiary level that did not seem to make it to J2
   13         Ireland’s parent. J2 Ireland’s parent shows no impairments (or
   14         diminution) to its investments as of our latest data for the year ended
              2018. Inclusive of vdW, we have identified four dissolutions of
   15         acquired entities at the subsidiary level.
   16                                       *      *     *
   17         Filings across multiple European subsidiaries shows several
              acquisitions have had significant revenue declines. These European
   18         acquisitions and entities look to have been supervised by Jeroen – the
   19         key man in a series of suspicious transactions described earlier.
   20         All told, it seems that multiple J2 European assets are deteriorating,
   21
              yet we have seen no goodwill impairments recorded at the parent
              level.
   22
   23         (Emphasis added.)
   24
              57.   The Report noted the following, in pertinent part, regarding J2
   25
        Global’s lack of board independence:
   26
   27
              The current situation at J2 has been enabled by a corporate
              governance vacuum. The Chairman and multiple “independent” board
   28
   29                                      28
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    1
             members, including the chairs of the audit and compensation
             committees, have numerous overlapping business interests, calling
    2        their actual independence into question.
    3
    4
    5
    6
    7
    8
    9        1.    “Independent” Chairman Richard Ressler has outside
   10
             business ties with much of the board, along with multiple J2
             executives. As noted above, Ressler’s new investment firm Orchard
   11        Capital Ventures (“OCV”), which itself is staffed with senior J2
   12        executives, received a $200 million commitment from J2’s
             shareholders, with the expectation that it will increase to $300 million.
   13        [ 21] The transfer was approved by J2’s audit committee [Pg. 22],
   14        which is Chaired by long time Ressler associate Brian Kretzmer.
   15        2. “Independent” director and audit committee chair, Brian
   16
             Kretzmer, has a work history with J2 Chairman Richard Ressler
             dating back nearly three decades.
   17
             Most importantly, Kretzmer consulted for the OCV affiliate Orchard
   18        Capital. This is a flagrant conflict of interest, given that as chair of the
   19        audit committee Kretzmer then approved the $200 million
             commitment of J2 Capital to OCV.
   20
   21
             This conflict was not disclosed to investors. Instead, it appears steps
             were taken to conceal it. Kretzmer removed his role at Orchard from
   22        his personal website, but we can see from an earlier Google cached
   23        version that Kretzmer worked on M&A for Orchard Capital:
   24        [image omitted]
   25        Beyond working for the predecessor entity of a $200 million related-
   26        party transaction that he “independently” approved, Kretzmer had
             additional ties to Ressler. Kretzmer was CEO of IT company MAI
   27        Systems Corp while Ressler was Chairman. [Pg. 19] Kretzmer was
   28        also a Director at investment company CIM Real Estate Finance
   29                                      29
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    1
              Trust, founded by Ressler. He also worked with telecommunications
              company Universal Telecom, one of Ressler’s former portfolio
    2         companies.
    3         3. “Independent” director and audit committee member, Stephen
    4         Ross, has a 20-year history with J2 Chairman Ressler and
              director/audit committee chair Kretzmer. Ross served as director at
    5
              MAI Systems together with Ressler (Chairman) and Kretzmer (CEO
    6         & President). Ross’s son was also employed at CIM Group, where
    7
              Ressler was Chairman, eventually becoming CTO. [ 9]

    8         Note again that the “independent” audit committee, whose chairman
              and majority of its members had multiple overlapping business ties
    9         with Ressler, were responsible for providing the approval of $200
   10         million in J2 cash being directed into Ressler’s newly-formed
              investment entity.
   11
   12         Years ago, while serving at MAI systems, Ross Chaired a special
              committee that approved a reverse stock split deal that explicitly
   13         benefited Ressler. [Pg. 9]
   14
              Kretzmer and Ross were hired to the J2 board on the same day 13
   15         years ago.
   16         4. “Independent” compensation committee chair, Douglas Bech,
   17         also serves as director/chairman of the corporate governance
              committee at CIM Commercial Trust, a business founded by J2
   18         Chairman Richard Ressler.
   19
              Corporate governance appears to be non-existent—Clear
   20         Conflicts Between the “Independent” Board Members and The
   21
              Executives They Are Supposed to Be Overseeing

   22         [image omitted]
   23         The company’s auditor, BDO, has collected increasing audit fees
              while apparently staying silent on potential conflicts and clear
   24
              looming write downs. Total audit fees that J2 Global has paid to BDO
   25         have more than doubled to $4.4 million in 2019 from $2.1 million in
   26
              2016.
              58.   On this news, shares of J2 Global fell $6.29 per share, or over 9%, to
   27
        close at $63.21 per share on June 30, 2020, damaging investors.
   28
   29                                      30
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    1
              59.    As a result of Defendants’ wrongful acts and omissions, and the

    2   precipitous decline in the market value of the Company’s securities, Plaintiff and

    3   other Class members have suffered significant losses and damages.
    4
    5                  PLAINTIFF’S CLASS ACTION ALLEGATIONS
    6         60.    Plaintiff brings this action as a class action pursuant to Federal Rule
    7   of Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons
    8   other than defendants who acquired J2 Global securities publicly traded on
    9   NASDAQ during the Class Period, and who were damaged thereby (the “Class”).
   10   Excluded from the Class are Defendants, the officers and directors of J2 Global
   11   and its subsidiaries, members of the Individual Defendants’ immediate families
   12   and their legal representatives, heirs, successors or assigns and any entity in
   13   which Defendants have or had a controlling interest.
   14
              61.    The members of the Class are so numerous that joinder of all
   15
        members is impracticable. Throughout the Class Period, J2 Global securities were
   16
        actively traded on NASDAQ. While the exact number of Class members is
   17
        unknown to Plaintiff at this time and can be ascertained only through appropriate
   18
        discovery, Plaintiff believes that there are hundreds, if not thousands of members
   19
        in the proposed Class.
   20
              62.    Plaintiff’s claims are typical of the claims of the members of the
   21
        Class as all members of the Class are similarly affected by defendants’ wrongful
   22
        conduct in violation of federal law that is complained of herein.
   23
              63.    Plaintiff will fairly and adequately protect the interests of the
   24
   25
        members of the Class and has retained counsel competent and experienced in

   26   class and securities litigation. Plaintiff has no interests antagonistic to or in

   27   conflict with those of the Class.
   28
   29                                       31
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    1
              64.   Common questions of law and fact exist as to all members of the

    2   Class and predominate over any questions solely affecting individual members of

    3   the Class. Among the questions of law and fact common to the Class are:
    4         •     whether the Exchange Act was violated by Defendants’ acts as
    5               alleged herein;
    6         •     whether statements made by Defendants to the investing public
    7               during the Class Period misrepresented material facts about the
    8               financial condition and business of J2 Global;
    9         •     whether Defendants’ public statements to the investing public during
   10               the Class Period omitted material facts necessary to make the
   11
                    statements made, in light of the circumstances under which they
   12
                    were made, not misleading;
   13
              •     whether the Defendants caused J2 Global to issue false and
   14
                    misleading filings during the Class Period;
   15
              •     whether Defendants acted knowingly or recklessly in issuing false
   16
                    filings;
   17
              •     whether the prices of J2 Global securities during the Class Period
   18
   19
                    were artificially inflated because of the Defendants’ conduct

   20               complained of herein; and

   21         •     whether the members of the Class have sustained damages and, if so,
   22               what is the proper measure of damages.
   23         65.   A class action is superior to all other available methods for the fair
   24   and efficient adjudication of this controversy since joinder of all members is
   25   impracticable. Furthermore, as the damages suffered by individual Class
   26   members may be relatively small, the expense and burden of individual litigation
   27   make it impossible for members of the Class to individually redress the wrongs
   28
   29                                      32
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    1
        done to them. There will be no difficulty in the management of this action as a

    2   class action.

    3         66.       Plaintiff will rely, in part, upon the presumption of reliance
    4   established by the fraud-on-the-market doctrine in that:
    5         •         J2 Global shares met the requirements for listing, and were listed
    6                   and actively traded on NASDAQ, an efficient market;
    7         •         As a public issuer, J2 Global filed periodic public reports;
    8         •         J2 Global regularly communicated with public investors via
    9                   established market communication mechanisms, including through
   10                   the regular dissemination of press releases via major newswire
   11
                        services and through other wide-ranging public disclosures, such as
   12
                        communications with the financial press and other similar reporting
   13
                        services;
   14
              •         J2 Global’s securities were liquid and traded with sufficient volume
   15
                        during the Class Period; and
   16
              •         J2 Global was followed by a number of securities analysts employed
   17
                        by major brokerage firms who wrote reports that were widely
   18
                        distributed and publicly available.
   19
   20
              67.       Based on the foregoing, the market for J2 Global securities promptly

   21   digested current information regarding J2 Global from all publicly available

   22   sources and reflected such information in the prices of the securities, and Plaintiff
   23   and the members of the Class are entitled to a presumption of reliance upon the
   24   integrity of the market.
   25         68.       Alternatively, Plaintiff and the members of the Class are entitled to
   26   the presumption of reliance established by the Supreme Court in Affiliated Ute
   27   Citizens of the State of Utah v. United States, 406 U.S. 128 (1972), as Defendants
   28
   29                                          33
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    1
        omitted material information in their Class Period statements in violation of a

    2   duty to disclose such information as detailed above.

    3
    4
    5                                         COUNT I
    6     For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
    7                                  Against All Defendants
    8           69.   Plaintiff repeats and realleges each and every allegation contained
    9   above as if fully set forth herein.
   10           70.   This Count is asserted against Defendants is based upon Section
   11   10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
   12   thereunder by the SEC.
   13           71.   During the Class Period, Defendants, individually and in concert,
   14
        directly or indirectly, disseminated or approved the false statements specified
   15
        above, which they knew or deliberately disregarded were misleading in that they
   16
        contained misrepresentations and failed to disclose material facts necessary in
   17
        order to make the statements made, in light of the circumstances under which
   18
        they were made, not misleading.
   19
                72.   Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that
   20
        they:
   21
                      •     employed devices, schemes and artifices to defraud;
   22
   23
                      •     made untrue statements of material facts or omitted to state

   24                       material facts necessary in order to make the statements made,

   25                       in light of the circumstances under which they were made, not
   26                       misleading; or
   27
   28
   29                                         34
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    1                •      engaged in acts, practices and a course of business that

    2                       operated as a fraud or deceit upon plaintiff and others similarly
    3                       situated in connection with their purchases of J2 Global
    4                       securities during the Class Period.
    5         73.    Defendants acted with scienter in that they knew that the public
    6   documents and statements issued or disseminated in the name of J2 Global were
    7   materially false and misleading; knew that such statements or documents would
    8   be issued or disseminated to the investing public; and knowingly and
    9   substantially participated, or acquiesced in the issuance or dissemination of such
   10   statements or documents as primary violations of the securities laws. These
   11   Defendants by virtue of their receipt of information reflecting the true facts of J2
   12   Global, their control over, and/or receipt and/or modification of J2 Global’s
   13
        allegedly materially misleading statements, and/or their associations with the
   14
        Company which made them privy to confidential proprietary information
   15
        concerning J2 Global, participated in the fraudulent scheme alleged herein.
   16
              74.    Individual Defendants, who are the senior officers and/or directors
   17
        of the Company, had actual knowledge of the material omissions and/or the
   18
        falsity of the material statements set forth above, and intended to deceive Plaintiff
   19
        and the other members of the Class, or, in the alternative, acted with reckless
   20
        disregard for the truth when they failed to ascertain and disclose the true facts in
   21
        the statements made by them or other J2 Global personnel to members of the
   22
        investing public, including Plaintiff and the Class.
   23
   24
              75.    As a result of the foregoing, the market price of J2 Global securities

   25   was artificially inflated during the Class Period. In ignorance of the falsity of

   26   Defendants’ statements, Plaintiff and the other members of the Class relied on the
   27   statements described above and/or the integrity of the market price of J2 Global
   28   securities during the Class Period in purchasing J2 Global securities at prices that
   29                                        35
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    1
        were artificially inflated as a result of Defendants’ false and misleading

    2   statements.

    3           76.   Had Plaintiff and the other members of the Class been aware that the
    4   market price of J2 Global securities had been artificially and falsely inflated by
    5   Defendants’ misleading statements and by the material adverse information
    6   which Defendants did not disclose, they would not have purchased J2 Global
    7   securities at the artificially inflated prices that they did, or at all.
    8           77.    As a result of the wrongful conduct alleged herein, Plaintiff and
    9   other members of the Class have suffered damages in an amount to be established
   10   at trial.
   11           78.   By reason of the foregoing, Defendants have violated Section 10(b)
   12   of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the
   13   plaintiff and the other members of the Class for substantial damages which they
   14
        suffered in connection with their purchase of J2 Global securities during the Class
   15
        Period.
   16
                                                COUNT II
   17
                          Violations of Section 20(a) of the Exchange Act
   18
                                 Against the Individual Defendants
   19
                79.   Plaintiff repeats and realleges each and every allegation contained in
   20
        the foregoing paragraphs as if fully set forth herein.
   21
                80.   During the Class Period, the Individual Defendants participated in
   22
        the operation and management of J2 Global, and conducted and participated,
   23
        directly and indirectly, in the conduct of J2 Global’s business affairs. Because of
   24
   25
        their senior positions, they knew the adverse non-public information about J2

   26   Global’s misstatement of revenue and profit and false financial statements.

   27           81.   As officers and/or directors of a publicly owned company, the
   28   Individual Defendants had a duty to disseminate accurate and truthful information
   29                                         36
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   30                            THE FEDERAL SECURITIES LAWS
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    1
        with respect to J2 Global’s financial condition and results of operations, and to

    2   correct promptly any public statements issued by J2 Global which had become

    3   materially false or misleading.
    4         82.     Because of their positions of control and authority as senior officers,
    5   the Individual Defendants were able to, and did, control the contents of the
    6   various reports, press releases and public filings which J2 Global disseminated in
    7   the marketplace during the Class Period concerning J2 Global’s results of
    8   operations. Throughout the Class Period, the Individual Defendants exercised
    9   their power and authority to cause J2 Global to engage in the wrongful acts
   10   complained of herein. The Individual Defendants therefore, were “controlling
   11   persons” of J2 Global within the meaning of Section 20(a) of the Exchange Act.
   12   In this capacity, they participated in the unlawful conduct alleged which
   13   artificially inflated the market price of J2 Global securities.
   14
              83.    By reason of the above conduct, the Individual Defendants are liable
   15
        pursuant to Section 20(a) of the Exchange Act for the violations committed by J2
   16
        Global.
   17
                                      PRAYER FOR RELIEF
   18
              WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for
   19
        judgment and relief as follows:
   20
              (a)    declaring this action to be a proper class action, designating plaintiff
   21
        as Lead Plaintiff and certifying plaintiff as a class representative under Rule 23 of
   22
        the Federal Rules of Civil Procedure and designating plaintiff’s counsel as Lead
   23
        Counsel;
   24
   25
              (b)    awarding damages in favor of plaintiff and the other Class members

   26   against all defendants, jointly and severally, together with interest thereon;

   27         awarding plaintiff and the Class reasonable costs and expenses incurred in
   28   this action, including counsel fees and expert fees; and
   29                                        37
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    1
              (d)   awarding plaintiff and other members of the Class such other and

    2   further relief as the Court may deem just and proper.

    3
    4                             JURY TRIAL DEMANDED
    5         Plaintiff hereby demands a trial by jury.
    6
    7   Dated: July 8, 2020                    THE ROSEN LAW FIRM, P.A.
    8
                                               /s/Laurence M. Rosen
    9
                                               Laurence M. Rosen (SBN 219683)
   10                                          355 South Grand Avenue, Suite 2450
   11                                          Los Angeles, CA 90071
                                               Telephone: (213) 785-2610
   12                                          Facsimile: (213) 226-4684
   13                                          Email: lrosen@rosenlegal.com
   14                                          Counsel for Plaintiff
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   29                                       38
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